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CR~ls-ooecc-w

UNITED STATES DISTRICT COUHT

 

NORTHERN DISTRICT OF CALIFORMA

v c" 09 WW'
O/$’r §§ (')/j/§
SAN JOSE DIVISION ’?”*T<>O , _¢

\THE UNITED STATES OF AMERICA~,.»~
VS.
DOUGLAS STORMS YORK

SUPERSEDING INDICTMENT

 

 

Count l: 18 U.S.C. § 912 _ False lmpersonation of an Employee of the United States

Count 2: 47 U.S.C. § 223(21)(1)(€)- Telecommunications Device Harassment

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A.D. 2()]_§_

 

 

Unitea' St`zres Magistrare Judge

 

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MELINDA HAAG (CABN 132612)
United States Attorney g

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

 

SAN JOSE DIVISION
UNITED STATES OF AMERICA, ) NO.: CR-15-00226~BLF
)
Plaintiff, ) VIOLATIONS: 18 U.S.C. § 912 - Fa]se
) Impersonation of an Employee of the United States;
v. 4 ) 47 U.S.C. § 223(a)(l)(C)- Obscene or Harassing
) Phone Calls
DOUGLAS STORMS YQRK, )
) SAN JOSE VENUE
Defendant. )
l
SUPERSEDING INDICTMENT
The Grand Jury Charges:

COUNT ONE: (18 U.S.C. § 912 - False Impersonation of an Employee of the United States)
On or about February 23, 2012, in the Northern District of California, the defendant,
DOUGLAS S'I`ORMS YORK,
did falsely assume and pretend to be an officer and employee of the United States acting under the
authority thereof, that is, as an agent of the Internal Revenue Service, and in such assumed and
pretended character did act as such, in that he falsely stated that he was an Agent of the Internal Revenue

Service engaged in investigating tax records, in violation of Title 18, United States Code, Section 912.

INDICTMENT 2

 

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COUNT TWO: (47 U.S.C. § 223(a)(1)(C) - Telecommunications Device Harassment)
On or about February 23, 2012, in the Northern District of Calit`ornia, the defendant,
DOUGLAS STORMS YORK,
Without disclosing his identity and With intent to abuse, threaten, and harass a specific person, did make
a telephone call and utilize a telecommunications device in interstate and foreign communications, in

that he left a voicemail for Allan l'[essent`iow, stating:

Hello, Allan. My name is Judy Smith. I"m With the IRS- Internal Revenue
Service_ I am calling you we are going to be requesting a tax audit, get
some information [garbled] that was read to you. And would like to check
your records for the following years: 2005, 2006, 2007, and if you could
please return my ca11 at the number listed on the caller ID, that would be
appreciated And once again, ifwe cannot reach you, we will definitely be
checking into your past and I’ll be looking into your records. Thanks a
lot, and We’ll call back tomorrow

A11 in violation Of 47 U.s.c. § 223(&)(1)(€).

DATED:

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MELINDA HAAG
United States Attomey

J Y EDROW
Chief, San Jose Branch Office

(Approved as to form%*' _%_'_'"'d )

SAUSA Brianna Penna

INDICTMENT 3

 

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AO 257 (Rev. 61'?8)

 

 

DEFENDANT lNFORNlAT|ON RELAT|VE TO A CRlMlNAL ACT|ON - |N U.S. DlSTR|CT COURT

 

BY: [l coMPLAINT l:| lNFoRi\/iATioN iNDicTiviENT

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oFFENsE cHARGEc SUPERSEDING

 

 

Count 1: 18 U.S.C. § 912 - Fa|se impersonation ofan |:1 PE“Y
Emp|oyee of the United States

|:| Minor
Cou nt 2: 47 U.S.C. § 223(3](1)(C) - Te|ecommunications M_ d
Device Harassment m '5 e`
meanor
Felony

PENALTY; COt.lnt Orte: 3 years imprisonment; 5250,000 fine; l year
supervised release; $lOO special assessment fee.

Count Two: 2 years imprisonment; 5250,000 fine; 3 years
supervised release; SlOG mandatory special assessment fee

Name of Districl Court, and.'or Judgei'lV|agistrate Location
NORTHERN DlSTR|CT OF CAL|FORN|A

SAN JOSE D|V|.§1ON

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'_ DEFENDANT - U.S

 

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DEFENDANT

 

PROCEED|NG
Name of Complaintant Agency, or Person (& Tit|el if any)

 

Donna Aguirre, T|GTA

m person is awaiting trial in another Federa| or State Courtl
give name of court

 

 

this person/proceeding is transferred from another district
l:l per {circ|e one) FRCrp 201 21, or 40. Show District

 

this is a reprosecution of
E charges previously dismissed

which were dismissed on motion SHOW

cf oocKET No
|:| U.S.ATTORNEY |:| DEFENSE }

this prosecution relates to a
[:| pending case involving this same

 

 

 

 

defendant MAG|STRATE
CASE NO.
prior proceedings or appearance(s)
|:| before U.S. Magistrate regarding this
defendant were recorded under _____-
Name and Othce of Person
Furnishing information on this form MEL|NDA HAAG

 

§§] l,J.S. Attorney [_'_] Other U.S. Agency

Name of Assistant U.S.

Attorney {if assigned) SAUSA Brianna Penna

lS NOT|N CUSTODY
HaS not been arrested, pending outcome this proceeding
11 l:] lf not detained give date any prior
summons was served on above charges »

2) [:] ls a Fugitive

3} ls on Bai| or Release from (show District)

NDCA

 

|S lN CUSTODY
4) [:] On this charge

5) |:] On another conviction

} [j Federa| |:| State

6) |:| Awaiting trial on other charges
lf answer to (6) is "Yes", show name of institution

 

Has detainer ij YES giv;:isate
been filed'? |:] Ng

filed
DATE oF . lVlonth/Day/¥ear
ARREST

 

Or... ifArresting Agency 8. Warrant were not

DATE TRANSFERRED lVlOnth/Day/Year
TO U.S. CUSTODY

 

 

 

 

PROCESS:
|:| SUMMONS |___] NO FROCESS* [___] WARRANT

lf Summons, complete following:
Arraignment [:] initial Appearance

Defendant Address:

 

Comments:

ADD|T|ONAL lNFORNlATlON OR COMMENTS

 

 

[:| This report amends AO 257 previously submitted

 

Bai| Amount:

* Where defendant previously apprehended on complaint no new summons or
warrant needed, since M'agistrate has scheduled arraignment

DafE/Timei Ju|y 13, 2015 at 1:30pm B€fOF€ JUGlQ€f Howard R. L|oyd

 

